Case 2:04-cV-02511-.]DB-tmp Document 11 Filed 04/22/05 Page 1 of 4 Page|D 19

IN THE UNITED sTA'rES DISTRICT CoURTF"-L» %
FoR THE WESTERN DISTRICT oF TENNESSEE "
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WD. OF TN Mi:.`iv'iPHlS

DESIREE L. RAMSEY and JAMES F. )
RAMSEY )
)

Plaimiffs, ) No. 04-2511-B/P
)
v. )
)
FORD MOTOR COMPANY )
)
Defendant. )

 

AMENDED SCHEDULING ORDER

 

The parties having come before this Court to amend the Scheduling Order, and good
cause for an extension of the discovery period having been Shown, the Scheduling Order is

amended as follows:
COMPLETING ALL DISCOVERY: June 18, 2005
(a) DOCUMENT PRODUCTION: June 18, 2005

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: June 18, 2005

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: July 18, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: August 20, 2005

(3) EXPERT WITNESS DEPOSITIONS:
Plaintiff's Experts - August 20, 2005
Defendant's Experts - September 18, 2005

FILING DISPOSITIVE MOTIONS: October 18, 2005

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OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time f`or filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be Waived.

This case is set for a jury trial. The pretrial order date, pretn`al conference date, and trial
date will be set by the presiding judge. The trial is expected to last 3 to 4 days.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediatiorMhe clos of discovery.

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The parties are reminded that pursuant to ocal Rule li(a)(l)(A), all motions, except

motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may tile an additional repl.y, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate judge. The parties will file a written consent form with the court
should they decide to proceed before the magistrate judge

This Order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended.

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IT IS SO ORDERED.

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Tu M. Pham
United States Magistrate Judge

Date: L‘/[/,ZD_:/O)/

APPROVED FOR ENTRY:

view

J. Randolph Bibb, Jr. (Tn. #09350)

Chad D. Graddy (#023196)

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Martin Tate Morrow & Marston

6410 Poplar Avenue, Suite 1000

Mernphis, Tennessee 381 19-4839

Attomeys for Plaintiffs

(Signed by Chad Graddy with express permission)

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2824771-000461 04/] 5/05

 

April 25, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CV-02511 Was distributed by fax, mail, or direct printing on

ESSEE

 

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Honorable .1. Breen
US DISTRICT COURT

